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                                  NOTE: CHANGES MADE BY THE COURT
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 8                    IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11   SRK TECHNOLOGY LLC,                      Case No. 2:19-cv-02515-PSG-JPR
12                 Plaintiff,
                                              STIPULATED PROTECTIVE
13        v.                                  ORDER
14   SNAP, INC.,                               DISCOVERY MATTER
15                 Defendant.                 Action Filed: April 3, 2019
                                              Trial Date: April 27, 2021
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                                                        STIPULATED PROTECTIVE ORDER,
                                                          CASE NO. 2:19-CV-025150-PSG-JPR
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 1                                PURPOSES AND LIMITATIONS
 2          Plaintiff SRK Technology LLC and Defendant Snap, Inc. (“the Parties”)1
 3   believe discovery in this action is likely to involve production of confidential,
 4   proprietary, or private information for which special protection from public disclosure
 5   and from use for any purpose other than prosecuting this litigation may be warranted.
 6   Accordingly, the parties hereby stipulate to and petition the Court to enter the
 7   following Stipulated Protective Order. The parties acknowledge that this Order does
 8   not confer blanket protections on all disclosures or responses to discovery and that the
 9   protection it affords from public disclosure and use extends only to the limited
10   information or items that are entitled to confidential treatment under the applicable
11   legal principles. The parties further acknowledge, as set forth below, that this
12   Stipulated Protective Order does not entitle them to file confidential information under
13   seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the
14   standards that will be applied when a party seeks permission from the court to file
15   material under seal.
16                                   GOOD CAUSE STATEMENT
17          This action is likely to involve trade secrets, customer and pricing lists, source
18   code, and other valuable research, development, commercial, financial, technical
19   and/or proprietary information for which the parties believe special protection from
20   public disclosure and from use for any purpose other than prosecution of this action is
21   warranted. Such confidential and proprietary materials and information consist of,
22   among other things, confidential business or financial information, information
23   regarding confidential business practices, source code and technical documentation, or
24   other confidential research, development, or commercial information (including
25   information implicating privacy rights of third parties), information otherwise
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     1
27    “Party” means any party to this case, including all of its officers, directors, employees, and outside
     counsel and their support staffs. “Parties” shall also include any other parties that are added to this
28   Action and served with process in accordance with the Federal Rules of Civil Procedure.
                                                                     STIPULATED PROTECTIVE ORDER,
                                                      1.
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 1   generally unavailable to the public, or which may be privileged or otherwise protected
 2   from disclosure under state or federal statutes, court rules, case decisions, or common
 3   law. Accordingly, to expedite the flow of information, to facilitate the prompt
 4   resolution of disputes over confidentiality of discovery materials, to adequately
 5   protect information the parties are entitled to keep confidential, to ensure that the
 6   parties are permitted reasonable necessary uses of such material in preparation for and
 7   in the conduct of trial, to address their handling at the end of the litigation, and serve
 8   the ends of justice, a protective order for such information is justified in this matter. It
 9   is the intent of the parties that information will not be designated as confidential for
10   tactical reasons and that nothing be so designated without a good faith belief that it
11   has been maintained in a confidential, non-public manner, and there is good cause
12   why it should not be part of the public record of this case.
13         THEREFORE, it is hereby stipulated among the Parties and ORDERED that:
14         1.     Each Party may designate as confidential for protection under this
15   Order, in whole or in part, any document, information or material that constitutes
16   or includes, in whole or in part, confidential or proprietary information or trade
17   secrets of the Party or a Third Party to whom the Party reasonably believes it
18   owes an obligation of confidentiality with respect to such document, information
19   or material (“Protected Material”). Protected Material shall be designated by the
20   Party producing it by affixing a legend or stamp on such document, information or
21   material as follows: “CONFIDENTIAL, “RESTRICTED - ATTORNEYS’ EYES
22   ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE.” The words
23   “CONFIDENTIAL, “RESTRICTED - ATTORNEYS’ EYES ONLY,” or
24   “RESTRICTED CONFIDENTIAL SOURCE CODE” shall be placed clearly on
25   each page of the Protected Material (except deposition and hearing transcripts) for
26   which such protection is sought.
27         2.     For digital files being produced, the producing Party may mark each
28   viewable page or image with the appropriate designation, and mark the medium,
                                                               STIPULATED PROTECTIVE ORDER,
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 1   container, and/or communication in which the digital files were contained. In the
 2   event that original documents are produced for inspection, the original documents
 3   shall be presumed “RESTRICTED – ATTORNEYS’ EYES ONLY” during the
 4   inspection and redesignated, as appropriate during the copying process. Where
 5   electronic files and documents are produced in native electronic format, such
 6   electronic files and documents shall be designated for protection under this Order
 7   by appending to the file names or designators information indicating whether the
 8   file contains “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES
 9   ONLY” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” material, or
10   shall use any other reasonable method for so designating Protected Materials
11   produced in electronic format. When electronic files or documents are printed for
12   use at deposition, in a court proceeding, or for provision in printed form to an
13   expert or consultant pre-approved pursuant to Paragraph 12, the party printing the
14   electronic files or documents shall affix a legend to the printed document
15   corresponding to the designation of the Designating Party and including the
16   production number and designation associated with the native file. No one shall
17   seek to use in this litigation a .tiff, .pdf or other image format version of a
18   document produced in native file format without first (1) providing a copy of the
19   image format version to the producing Party so that the producing Party can
20   review the image to ensure that no information has been altered, and (2) obtaining
21   the consent of the producing Party, which consent shall not be unreasonably
22   withheld.
23         3.     For deposition and hearing transcripts, the words CONFIDENTIAL,”
24   “RESTRICTED–ATTORNEYS’ EYES ONLY,” or “RESTRICTED
25   CONFIDENTIAL SOURCE CODE shall be placed on the cover page of the
26   transcript (if not already present on the cover page of the transcript when received
27   from the court reporter) by each attorney receiving a copy of the transcript after
28   that attorney receives notice of the designation of some or all of that transcript as
                                                             STIPULATED PROTECTIVE ORDER,
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 1   “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY,” or
 2   “RESTRICTED CONFIDENTIAL SOURCE CODE.” In the event a deposition is
 3   videotaped, the original and all copies of the videotape shall be marked by the
 4   video technician to indicate that the contents of the videotape are subject to this
 5   Protective Order, substantially along the lines of “This videotape contains
 6   confidential testimony used in this case and is not to be viewed or the contents
 7   thereof to be displayed or revealed except pursuant to the terms of the operative
 8   Protective Order in this matter or pursuant to written stipulation of the parties.” It
 9   shall be the responsibility of the Party that designates the deposition as
10   confidential to inform the videographer of the requirements in this Paragraph.
11         4.     Any document produced in connection with infringement contentions or
12   invalidity contentions before issuance of this Order in connection with the designation
13   “Confidential” or “Confidential - Outside Attorneys’ Eyes Only” shall receive the
14   same treatment as if designated “RESTRICTED – ATTORNEYS’ EYES ONLY”
15   under this Order, unless and until such document is redesignated to have a different
16   classification under this Order.
17         5.     With respect to documents, information or material designated
18   “CONFIDENTIAL, “RESTRICTED - ATTORNEYS’ EYES ONLY,” or
19   “RESTRICTED CONFIDENTIAL SOURCE CODE” (“DESIGNATED
20   MATERIAL”), 2 subject to the provisions herein and unless otherwise stated, this
21   Order governs, without limitation: (a) all documents, electronically stored
22   information, and/or things as defined by the Federal Rules of Civil Procedure; (b)
23   all pretrial, hearing or deposition testimony, or documents marked as exhibits or
24   for identification in depositions and hearings; (c) pretrial pleadings, exhibits to
25   pleadings and other court filings; (d) affidavits; and (e) stipulations. All copies,
26   2
       The term “DESIGNATED MATERIAL” is used throughout this Protective Order to refer to the
27   class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES
     ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
28   collectively.
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 1   reproductions, extracts, digests and complete or partial summaries prepared from
 2   any DESIGNATED MATERIALS shall also be considered DESIGNATED
 3   MATERIAL and treated as such under this Order.
 4         6.    A designation of Protected Material (i.e., “CONFIDENTIAL,”
 5   “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED
 6   CONFIDENTIAL SOURCE CODE”) may be made at any time. Inadvertent or
 7   unintentional production of documents, information or material that has not been
 8   designated as DESIGNATED MATERIAL shall not be deemed a waiver in whole
 9   or in part of a claim for confidential treatment. Any party that inadvertently or
10   unintentionally produces Protected Material without designating it as
11   DESIGNATED MATERIAL may request destruction of that Protected Material
12   by notifying the recipient(s), as soon as reasonably possible after the producing
13   Party becomes aware of the inadvertent or unintentional disclosure, and providing
14   replacement Protected Material that is properly designated. The recipient(s) shall
15   then destroy all copies of the inadvertently or unintentionally produced Protected
16   Materials and any documents, information or material derived from or based
17   thereon.
18         7.    “CONFIDENTIAL” documents, information and material may be
19   disclosed only to the following persons, except upon receipt of the prior written
20   consent of the designating party, upon order of the Court, or as set forth in
21   paragraph 15 herein:
22         (a)   Outside counsel of record in this Action for the Parties;
23         (b)   employees of such counsel assigned to and reasonably necessary to
24               assist such counsel in the litigation of this Action;
25         (c)   in-house counsel (“in-house counsel” includes attorneys or members of
26               the legal staff or the intellectual property department of a Party or of a
27               Parties’ parents, subsidiaries, or commonly controlled companies) for the
28               Parties who either have responsibility for making decisions dealing
                                                             STIPULATED PROTECTIVE ORDER,
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 1             directly with the litigation of this Action, or who are assisting outside
 2             counsel in the litigation of this Action;
 3       (d)   up to and including two (2) designated representatives of each of the
 4             Parties to the extent reasonably necessary for the litigation of this
 5             Action, except that either party may in good faith request the other
 6             party’s consent to designate one or more additional representatives,
 7             the other party shall not unreasonably withhold such consent, and the
 8             requesting party may seek leave of Court to designate such additional
 9             representative(s) if the requesting party believes the other party has
10             unreasonably withheld such consent; up to and including two (2)
11             designated representatives of each of the Parties, as well as their
12             immediate staff, to the extent reasonably necessary for the litigation
13             of this Action, provided that: before access is given, the representative
14             has completed the Undertaking attached as Appendix A hereto and
15             the same is served upon the producing Party at least seven (7) days
16             before access to the Protected Material is to be given to that
17             representative to object to and notify the receiving Party in writing
18             that it objects to disclosure of Protected Material to the representative.
19             The Parties agree to promptly confer and use good faith to resolve any
20             such objection within seven (7) days following the objection. If the
21             Parties are unable to resolve any objection, the objecting Party may
22             file a motion with the Court under Local Rule 37 within ten (10) days
23             of the notice, or within such other time as the Parties may agree,
24             seeking a protective order with respect to the proposed disclosure. If
25             relief is not sought from the Court within that time, the objection shall
26             be deemed withdrawn. If relief is sought, designated materials shall
27             not be disclosed to the representative in question until the Court
28             resolves the objection; except that either party may in good faith
                                                           STIPULATED PROTECTIVE ORDER,
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 1             request the other party’s consent to designate one or more additional
 2             representatives, the other party shall not unreasonably withhold such
 3             consent, and the requesting party may seek leave of Court to
 4             designate such additional representative(s) if the requesting party
 5             believes the other party has unreasonably withheld such consent;
 6       (e)   outside consultants or experts (i.e., not existing employees or
 7             affiliates of a Party or an affiliate of a Party) retained for the purpose
 8             of this litigation, provided that:
 9             (1) such consultants or experts are not presently employed by the
10             Parties hereto for purposes other than this Action;
11             (2) before access is given, the consultant or expert has completed the
12             Undertaking attached as Appendix A hereto and the same is served
13             upon the producing Party with:
14                      i.   a current curriculum vitae of the consultant or expert;
15                     ii.   an identification of all pending patent applications on
16                           which the consultant or expert is named as an inventor, in
17                           which the consultant or expert has any ownership interest,
18                           or as to which the consultant or expert has had or
19                           anticipates in the future any involvement in advising on,
20                           consulting on, preparing, prosecuting, drafting, editing,
21                           amending, or otherwise affecting the scope of the claims;
22                           and
23                    iii.   a list of the cases in which the consultant or expert has
24                           testified at deposition or trial within the last five (5)
25                           years;
26             (3) Such expert or consultant accesses the materials in the United
27             States only, and does not transport them to or access them from any
28             foreign jurisdiction.
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 1             Within seven (7) days of the disclosure described in subparagraph
 2             (e)(iii) above, the producing Party may notify the receiving Party in
 3             writing that it objects to disclosure of Protected Material to the
 4             consultant or expert. The Parties agree to promptly confer and use
 5             good faith to resolve any such objection within seven (7) days
 6             following the objection. If the Parties are unable to resolve any
 7             objection, the objecting Party may file a motion with the Court under
 8             Local Rule 37 within ten (10) days of the notice, or within such other
 9             time as the Parties may agree, seeking a protective order with respect
10             to the proposed disclosure. The objecting Party shall have the burden
11             of proving the need for a protective order. No disclosure shall occur
12             until all such objections are resolved by agreement or Court order. An
13             initial failure to object to an expert or consultant under this Paragraph
14             shall not preclude the non-objecting Party from later objecting to
15             continued access by that expert or consultant for good cause. The
16             Parties agree that, for good cause to exist, facts or circumstances must
17             have become known to the objecting party regarding the expert or
18             consultant that could not have been known before or during the initial
19             failure to object to the expert or consultant. If an objection is made,
20             the Parties shall meet and confer via telephone or in person within
21             seven (7) days following the objection and attempt in good faith to
22             resolve the dispute informally. The designated expert or consultant
23             may continue to have access to information that was provided to such
24             expert or consultant prior to the date of the objection. If a later
25             objection is made, no further DESIGNATED MATERIAL shall be
26             disclosed to the expert or consultant until the Court resolves the
27             matter or the producing Party withdraws its objection.
28             Notwithstanding the foregoing, if the producing Party fails to move
                                                          STIPULATED PROTECTIVE ORDER,
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 1                  for a protective order under Local Rule 37 within ten (10) days of the
 2                  notice, further DESIGNATED MATERIAL may thereafter be
 3                  provided to the expert or consultant;
 4         (f)      independent litigation support services, including persons working for
 5                  or as court reporters, stenographers and videographers, and
 6                  photocopy, document imaging, and database services retained by
 7                  counsel and reasonably necessary to assist counsel with the litigation
 8                  of this Action;
 9         (g)      translation, graphics or design services, jury or trial consulting
10                  services, provided such persons have first agreed to be bound by the
11                  provisions of the Protective Order by signing a copy of Appendix A,
12                  however, such signed copies of Appendix A shall not be disclosed to
13                  or served upon any other Party;
14         (h)      mock jurors who have signed an undertaking or agreement agreeing
15                  not to publicly disclose Protected Material and to keep any
16                  information concerning Protected Material confidential;
17         (i)      the Court (including any Court-appointed mediators or advisors) and
18                  its personnel; and
19         (j)      any other person with the prior written consent of the producing
20                  Party.
21         8.       A Party shall designate documents, information or material as
22   “CONFIDENTIAL” only upon a good faith belief that the documents,
23   information or material contains confidential or proprietary information or trade
24   secrets of the Party or a Third Party to whom the Party reasonably believes it
25   owes an obligation of confidentiality with respect to such documents, information
26   or material.
27         9.       Documents, information or material produced pursuant to any
28   discovery request in this Action, including but not limited to Protected Material
                                                            STIPULATED PROTECTIVE ORDER,
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 1   designated as DESIGNATED MATERIAL, shall be used by the Parties only in
 2   the litigation of this Action and shall not be used for any other purpose. Any
 3   person or entity who obtains access to DESIGNATED MATERIAL or the
 4   contents thereof pursuant to this Order shall not make any copies, duplicates,
 5   extracts, summaries or descriptions of such DESIGNATED MATERIAL or any
 6   portion thereof except as may be reasonably necessary in the litigation of this
 7   Action. Any such copies, duplicates, extracts, summaries or descriptions shall be
 8   classified DESIGNATED MATERIALS and subject to all of the terms and
 9   conditions of this Order.
10          10.     To the extent a producing Party believes that certain Protected
11   Material qualifying to be designated CONFIDENTIAL is so sensitive that its
12   dissemination deserves even further limitation, the producing Party may designate
13   such Protected Material “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or to
14   the extent such Protected Material includes computer source code (meaning
15   computer code, scripts, assembly, binaries, object code, source code listings and
16   descriptions of source code, object code listings and descriptions of object code,
17   and/or live data 3 (that is, data as it exists residing in a database or databases))
18   (“Source Code Material”), the producing Party may designate such Protected
19   Material as “RESTRICTED CONFIDENTIAL SOURCE CODE.”
20          11.     For Protected Material designated RESTRICTED -- ATTORNEYS’
21   EYES ONLY, access to, and disclosure of, such Protected Material shall be
22   limited to: individuals listed in Paragraphs 7(a-b), 7(e-g) and 7(i-j), provided,
23   however, that access by individuals pursuant to Paragraph 7(a-b, e) be limited to
24   individuals who exercise no competitive decision-making authority on behalf of
25   3
      Neither party anticipates that files describing the hardware design of any component, including
26   Hardware Description Language (HDL) or Register Transfer Level (RTL) files that describe the
     hardware design of any ASIC or other chip, and Computer Aided Design (CAD) files that
27   describe the hardware design of any component, will be produced in this case. To the extent that
     any party believes that the production of such files becomes necessary, the parties agree to meet
28   and confer regarding the appropriate confidentiality designation for any such files at that time.
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 1   the client, and, with respect to material produced by the Plaintiff, not more than
 2   two (2) in-house counsel of the receiving Party under paragraph 7(c), provided
 3   that access by in-house counsel pursuant to this Paragraph be limited to in-house
 4   counsel who exercise no competitive decision-making authority on behalf of the
 5   client and that before access is given, the in-house counsel has completed the
 6   Undertaking attached as Appendix A hereto and the same is served upon the
 7   producing Party at least seven (7) days before access to the Protected Material is
 8   to be given to that in-house counsel to object to and notify the receiving Party in
 9   writing that it objects to disclosure of Protected Material to the in-house counsel.
10   The Parties agree to promptly confer and use good faith to resolve any such
11   objection within seven (7) days following the objection. If the Parties are unable
12   to resolve any objection, the objecting Party may file a motion with the Court
13   under Local Rule 37 within ten (10) days of the notice, or within such other time
14   as the Parties may agree, seeking a protective order with respect to the proposed
15   disclosure. If relief is not sought from the Court within that time, the objection
16   shall be deemed withdrawn. If relief is sought, designated materials shall not be
17   disclosed to the in-house counsel in question until the Court resolves the
18   objection. With respect to material that is produced by the Defendant, no in-house
19   counsel of the receiving party may have access to Protected Material designated
20   RESTRICTED – ATTORNEYS’ EYES ONLY.
21         12.    For Protected Material designated RESTRICTED CONFIDENTIAL
22   SOURCE CODE, the following additional restrictions apply:
23         (a) Access to a Party’s Source Code Material shall be provided only on
24               “stand-alone” computer(s) (that is, the computer may not be linked to
25               any network, including a local area network (“LAN”), an intranet or the
26               Internet) in a secure room (“Source Code Review Room”).
27               Additionally, the stand-alone computer(s) may only be located at the
28               office of the producing Party’s outside counsel or a location mutually
                                                          STIPULATED PROTECTIVE ORDER,
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 1            agreed upon by the receiving Party and the producing Party (the
 2            “Review Facility”). No recordable media or recordable devices,
 3            including without limitation sound recorders, computers, cellular
 4            telephones, peripheral equipment, cameras, CDs, DVDs, or drives of
 5            any kind, shall be permitted into the Source Code Review Room;
 6        (b) The receiving Party shall make reasonable efforts to restrict its requests
 7            for such access to the stand-alone computer(s) to normal business
 8            hours, which for purposes of this Paragraph shall be 9:00 a.m. through
 9            5:00 p.m. on business days (i.e., weekdays that are not Federal
10            holidays). However, upon reasonable notice from the receiving party,
11            the producing Party shall make reasonable efforts to accommodate the
12            receiving Party’s request for access to the stand-alone computer(s)
13            outside of normal business hours. Prior to the first inspection of any
14            requested Source Code Material, the receiving Party shall provide seven
15            (7) days’ notice of the Source Code Material that it wishes to inspect.
16            The receiving Party shall provide three (3) days’ notice prior to any
17            additional inspections. The Parties agree to cooperate in good faith such
18            that maintaining the producing Party’s Source Code Material at the
19            offices of its outside counsel shall not unreasonably hinder the
20            receiving Party’s ability to efficiently and effectively conduct the
21            prosecution or defense of this Action;
22        (c) The producing Party shall provide the receiving Party with information
23            explaining how to start, log on to, and operate the stand-alone
24            computer(s) in order to access the Source Code Material made available
25            on the stand-alone computer(s). The producing Party may visually
26            monitor the activities of the receiving Party’s representatives during
27            any Source Code Material inspection, but only to ensure that no
28            unauthorized electronic records of the Source Code Material and no
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 1            information concerning the Source Code Material are being created or
 2            transmitted in any way;
 3        (d) The producing Party will make Source Code Material available for
 4            inspection in computer searchable format on the stand-alone
 5            computer(s) as described above and will install freely available
 6            software tools on the stand-alone computer for purposes of the review
 7            (including but not limited to software to perform searches of the Source
 8            Code Material), if such tools exist and are in possession of the
 9            producing Party at the time the first request to inspect Source Code
10            Material is received, upon request by the reviewing Party;
11        (e) The receiving Party may, at its own expense, request that the producing
12            Party install software on Source Code Review computer(s) to perform
13            searches of the Source Code Material, provided that such other software
14            is necessary for the receiving Party to perform its review of the Source
15            Code Material consistent with all of the protections herein. The
16            receiving Party must provide the producing Party with media
17            containing such software tools(s) at least seven (7) days in advance of
18            the date upon which the receiving Party wishes to have the additional
19            software available for use on the Source Code Review computer(s).
20            Timely requests for the installation of such search software will not be
21            unreasonably denied so long as the receiving Party possesses an
22            appropriate license to such software tools, and the requested search
23            software is compatible with the operating system, and other software
24            necessary to make the Source Code Material available for inspection,
25            installed on a Source Code Review computer(s), does not prevent or
26            impede the receiving Party’s access to the Source Code Material
27            produced for inspection on Source Code Review computer(s) and does
28            not side-step any of the security features enabled on a Source Code
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 1               Review computer(s) (e.g., enable connection and use of USB thumb
 2               drives during the review). The receiving Party shall not erase, load,
 3               install, compile, or otherwise modify any program (or request that any
 4               other program be erased, loaded, installed, or otherwise modified by the
 5               producing Party) on the Source Code Review computer(s) without first
 6               submitting a written request and obtaining the producing Party’s
 7               agreement to the request;
 8          (f) Access to Protected Material designated RESTRICTED
 9               CONFIDENTIAL - SOURCE CODE shall be limited to (i) outside
10               counsel provided that such Outside Counsel be limited to outside
11               counsel who exercise no competitive decision-making authority on
12               behalf of the client; (ii) up to three (3) outside consultants or experts
13               (i.e., not existing employees or affiliates of a Party or an affiliate of a
14               Party) retained for the purpose of this litigation and approved to access
15               such Protected Materials pursuant to Paragraph 7 above; 4 (iii) Court
16               reporters, stenographers and videographers retained to record testimony
17               taken in this action; (iv) the Court (including any Court-appointed
18               mediators or advisors) and its personnel; and (v) any other person with
19               the prior written consent of the producing Party.
20          (g) A receiving party may include excerpts of Source Code Material in a
21               pleading, exhibit, expert report, discovery document, deposition
22               transcript, or other Court document, provided that the Source Code
23               Documents are appropriately marked under this Order, restricted to
24               those who are entitled to have access to them as specified herein, and, if
25   4
      For the purposes of this Paragraph, an outside consultant or expert is defined to include the outside
     consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
26   consultant or expert who employs others within his or her firm to help in his or her analysis shall
     count as a disclosure to a single consultant or expert, provided that any individual employed by an
27   outside consultant or expert be approved to access Protected Materials pursuant to Paragraph 7
     above prior to receiving any Protected Material designated RESTRICTED CONFIDENTIAL -
28   SOURCE CODE.
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 1            filed with the Court, filed under seal in accordance with the Court’s
 2            rules, procedures and orders;
 3        (h) To the extent portions of Source Code Material are quoted in a Source
 4            Code Document, either (1) the entire Source Code Document will be
 5            stamped and treated as RESTRICTED CONFIDENTIAL SOURCE
 6            CODE or (2) those pages containing quoted Source Code Material will
 7            be separately stamped and treated as RESTRICTED CONFIDENTIAL
 8            SOURCE CODE;
 9        (i) Except as set forth in Paragraph 12(p) below, no electronic copies of
10            Source Code Material shall be made without prior written consent of
11            the producing Party, except as necessary to create documents which,
12            pursuant to the Court’s rules, procedures and order, must be filed or
13            served electronically. Images or copies of Source Code Material shall
14            not be included in correspondence between the Parties (references to
15            production numbers shall be used instead). If a Party reasonably
16            believes that it needs to submit a portion of Source Code Material as
17            part of a filing with the Court, the Party shall excerpt the Source Code
18            Material to include only the portions of Source Code Material necessary
19            to that filing;
20        (j) The receiving Party may request paper copies of limited portions of
21            Source Code Material that are reasonably necessary for use in, and
22            preparation for, court filings and proceedings, infringement or
23            invalidity contentions, expert reports, and depositions of persons or
24            entities permitted access to “RESTRICTED CONFIDENTIAL
25            SOURCE CODE” information of the producing Party, and such other
26            uses to which the parties may agree or that the Court may order. Using
27            the software available on the Source Code Review computer, the
28            receiving Party shall create PDFs of the printed copies the receiving
                                                       STIPULATED PROTECTIVE ORDER,
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 1            Party is requesting and save them in a folder on the desktop of the
 2            Source Code Review computer named “Print Requests” with a
 3            subfolder identifying the date of the request. The PDF printouts must
 4            identify information including the full file path and file name, page
 5            number, line numbers, and date of printing. The request for Source
 6            Code Material shall be served via an email request identifying the
 7            subfolders of the “Print Requests” folder that the producing Party is
 8            requesting. Within five (5) business days of such request, the
 9            producing Party shall provide one copy of all such Source Code
10            Material on watermarked or colored paper including bates numbers and
11            the label “RESTRICTED CONFIDENTIAL SOURCE CODE.” The
12            receiving Party shall not request printouts of Source Code Material in
13            order to review blocks of Source Code Material elsewhere in the first
14            instance, i.e., as an alternative to reviewing that Source Code Material
15            electronically on the Source Code Review computer(s), as the parties
16            acknowledge and agree that the purpose of the protections herein would
17            be frustrated by printing portions of code for review and analysis
18            elsewhere, and that printing is permitted solely to enable use of Source
19            Code Materials in filings, depositions, proceedings, contentions, expert
20            reports, and related drafts and correspondence. The receiving Party’s
21            outside counsel and/or experts shall be entitled to take notes relating to
22            the Source Code Material but may not copy the Source Code Material
23            into the notes and may not take such notes electronically on the Source
24            Code Computer itself or any other computer;
25        (k) The receiving Party shall be permitted to make a reasonable number of
26            photocopies of Source Code Material, all of which shall be designated
27            and clearly labeled “RESTRICTED CONFIDENTIAL SOURCE
28            CODE,” and the receiving Party shall maintain a log of all such files
                                                        STIPULATED PROTECTIVE ORDER,
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 1            that are photocopied that includes the names of the reviewers and/or
 2            recipients of the copies and locations where the paper copies are stored.
 3            Upon two (2) day’s advance notice to the receiving Party by the
 4            producing Party, the receiving Party shall provide a copy of this log to
 5            the producing Party. In considering what is reasonable, the receiving
 6            Party shall not, in general, ask that more than 750 total pages—with a
 7            page being one that has at least 35 lines of code—of Source Code
 8            Material be printed. After the receiving Party has asked that 750 total
 9            pages of Source Code Material be printed, the Parties shall meet and
10            confer regarding the printing of additional pages, if any, in view of the
11            needs of the case and the amount of Source Code Material that has been
12            made available. In the event that a producing Party believes that a
13            particular printing request is unreasonable, the producing Party and
14            receiving Party shall meet and confer in good faith to attempt to resolve
15            this dispute without the Court’s involvement. If they cannot resolve the
16            issue, either Party may seek an order from the Court;
17        (l) The receiving Party shall maintain a record of any individual who has
18            inspected any portion of the Source Code Material in electronic or
19            paper form. Each page of any printed copies of Source Code Material
20            shall be printed on nonwhite, colored paper. After printing, the
21            producing Party shall clearly label each page of any printed copies
22            “RESTRICTED CONFIDENTIAL SOURCE CODE” and give each
23            page a unique identification number;
24        (m) All paper copies shall be securely destroyed if they are no longer
25            necessary in the litigation (e.g., extra copies at the conclusion of a
26            deposition);
27        (n) For depositions, outside counsel for the receiving Party may bring one
28            printed copy of Source Code Material. Except for the receiving Party’s
                                                        STIPULATED PROTECTIVE ORDER,
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 1            outside counsel’s copy of Source Code Material, the receiving Party
 2            shall not bring copies of any printed Source Code Material. To the
 3            extent the receiving Party requests a Source Code computer to be
 4            provided at a deposition, the receiving Party shall make such a request
 5            at least 5 business days before the deposition and the producing Party
 6            shall not unreasonably deny such a request. Copies of Source Code
 7            Material that are marked as deposition exhibits shall not be provided to
 8            the court reporter or attached to deposition transcripts, rather, the
 9            deposition record will identify the exhibit by its production numbers;
10        (o) For Court proceedings, outside counsel for the receiving Party may
11            bring one printed copy of Source Code Material. Except for the
12            receiving Party’s outside counsel’s copy of Source Code Material, the
13            receiving Party shall not bring copies of any printed Source Code
14            Material. Rather, the producing Party will provide a Source Code
15            computer at the Court proceeding containing all source code, in
16            computer-searchable format, previously produced by the producing
17            Party;
18        (p) Should such printouts or photocopies be transferred back to electronic
19            media, such media shall be labeled “RESTRICTED CONFIDENTIAL
20            SOURCE CODE” and shall continue to be treated as such;
21        (q) If the receiving Party’s outside counsel, consultants, or experts obtain
22            printouts or photocopies of Source Code Material, the receiving Party
23            shall ensure that such outside counsel, consultants, or experts keep the
24            printouts or photocopies in a secured locked area in the offices of such
25            outside counsel, consultants, or expert(s) at all times when it is not in
26            use, with the exception of outside counsel’s copies pursuant to
27            subsections (n) and (o) of this Paragraph.
28
                                                        STIPULATED PROTECTIVE ORDER,
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 1          (r) The recipient must maintain and store the Source Code Material
 2                pursuant to Paragraph 12(q). Source Code Material may not be
 3                transported or transmitted electronically over a network of any kind,
 4                including a LAN, an intranet, or the Internet, except as with respect to
 5                the transmission of contentions, expert reports, sealed court filings, or
 6                any other document, which pursuant to the Court’s rules, procedures, or
 7                orders must be filed or served electronically, as set forth in Paragraphs
 8                12(g)-(i) above and is at all times subject to the transport restrictions set
 9                forth herein.
10          13.    Absent written consent by the producing Party, any attorney
11   representing a Party, whether in-house or outside counsel, and any person
12   associated with a Party and permitted to receive the other Party’s Protected
13   Material that is designated RESTRICTED -- ATTORNEYS’ EYES ONLY and/or
14   RESTRICTED CONFIDENTIAL SOURCE CODE (collectively “HIGHLY
15   SENSITIVE MATERIAL”), who obtains, receives, has access to, or otherwise
16   learns, in whole or in part, the other Party’s HIGHLY SENSITIVE MATERIAL
17   under this Order shall not (i) prepare, prosecute, supervise, or assist in the
18   preparation or prosecution of any patent application before any foreign or
19   domestic agency, including the United States Patent and Trademark Office
20   relating to audio/video messaging, or otherwise pertaining to the field of invention
21   of the patents-in-suit, on behalf of the receiving Party or its acquirer, successor,
22   predecessor, or Affiliate 5 during the pendency of this Action and for two years
23   after its conclusion, including any appeals. Nothing in this Order shall prohibit the
24   acquisition of patents or patent applications for assertion against or licensing to
25   any entity other than a Party. The prohibitions in this Paragraph are not intended
26   to and shall not preclude counsel who obtains, receives, or otherwise learns of, in
27
     5
      For the purposes of this Paragraph, “Affiliate” shall mean any entity that is related by common
28   ownership or common corporate control to a Party.
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 1   whole or in part, the other Party’s HIGHLY SENSITIVE MATERIAL of a
 2   technical nature from participating directly or indirectly in reexamination, inter
 3   partes review, or covered business method review proceedings, provided that the
 4   law firm of any attorney who obtains, receives, or otherwise learns, in whole or in
 5   part, the other Party’s HIGHLY SENSITIVE MATERIAL of a technical nature
 6   produced by another Party may not, directly or indirectly, advise, consult, or
 7   participate in the drafting of amended or substitute claims in the proceeding, and
 8   will not use any of the producing Party’s Protected Material in the proceeding. To
 9   ensure compliance with the purpose of this provision, each Party shall create an
10   “Ethical Wall” between those persons with access to HIGHLY SENSITIVE
11   MATERIAL of a technical nature and any individuals who, on behalf of any Party
12   or its acquirer, successor, predecessor, or Affiliate, prepare, prosecute, supervise
13   or assist in the preparation or prosecution of any patent application pertaining to
14   the field of invention of the patent-in-suit. The preceding provision regarding the
15   advice, consultation, or participation in the drafting of amended or substitute
16   claims in an reexamination, inter partes review, or covered business method
17   review proceeding shall bar entire firms who actually receive and review a Party’s
18   HIGHLY SENSITIVE MATERIAL of a technical nature, but the remaining
19   provisions of this Paragraph shall only apply to persons who obtain, receive, or
20   otherwise learn of, in whole or in part, the other Party’s HIGHLY SENSITIVE
21   MATERIAL of a technical nature.
22         14.   DESIGNATED MATERIAL must be stored and maintained by a
23   receiving Party at a location in the United States and in a secure manner that
24   ensures that access is limited to the persons authorized under this Order.
25   DESIGNATED MATERIAL may not be exported outside the United States or
26   released to any foreign national (even if within the United States).
27         15.   Nothing in this Order shall require production of documents,
28   information or other material that a Party contends is protected from disclosure by
                                                          STIPULATED PROTECTIVE ORDER,
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 1   the attorney-client privilege, the work product doctrine, or other privilege,
 2   doctrine, or immunity. If documents, information or other material subject to a
 3   claim of attorney-client privilege, work product doctrine, or other privilege,
 4   doctrine, or immunity is inadvertently or unintentionally produced, such
 5   production shall in no way prejudice or otherwise constitute a waiver of, or
 6   estoppel as to, any such privilege, doctrine, or immunity. Any Party that
 7   inadvertently or unintentionally produces documents, information or other
 8   material it reasonably believes are protected under the attorney-client privilege,
 9   work product doctrine, or other privilege, doctrine, or immunity may obtain the
10   return of such documents, information or other material by promptly notifying the
11   recipient(s) and providing a privilege log for the inadvertently or unintentionally
12   produced documents, information or other material. The recipient(s) shall gather
13   and return all copies of such documents, information or other material to the
14   producing Party, except for any pages containing privileged or otherwise
15   protected markings by the recipient(s), which pages shall instead be destroyed and
16   certified as such to the producing Party. After receiving notice of the inadvertently
17   or unintentionally produced material referred to herein, the receiving Party shall
18   not access or view the inadvertently or unintentionally produced material. The
19   information on the Privilege Log shall be sufficient for the receiving Party to
20   describe the nature of the material in any motion to compel production. This order
21   shall be interpreted to provide the maximum protection allowed by the Federal Rule of
22   Evidence 502(d).
23         16.    No Party is required to identify on its respective privilege log any
24   document or communication dated after the filing of the Complaint. The parties shall
25   exchange their respective privilege logs at a time to be agreed upon by the parties
26   following the production of documents, or as otherwise ordered by the Court.
27         17.    Nothing in this Protective Order shall be construed to prevent counsel
28   from advising their clients with respect to this case based in whole or in part upon
                                                            STIPULATED PROTECTIVE ORDER,
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 1   DESIGNATED MATERIAL, provided counsel does not disclose the
 2   DESIGNATED MATERIAL itself except as provided in this Order.
 3         18.     Pursuant to Federal Rule of Civil Procedure 26(b)(4)(B), no draft
 4   expert reports, notes, outlines, or disclosures leading up to a final expert report are
 5   discoverable in whatever form unless otherwise ordered by the Court. In addition,
 6   where a Party retains independent consultants or experts to further technical or
 7   consulting services or to give testimony with respect to the subject matter of this
 8   action, the following materials will be deemed to be privileged materials or
 9   materials otherwise protected from production based on a claim of privilege
10   (attorney-client, work product, or other privilege) and thus not discoverable:
11         (a) Correspondence between such independent consultants or experts and a
12               party or its outside counsel;
13         (b) Drafts of expert reports, declarations, or any other materials drafted by
14               or for such independent consultants or experts regarding the subject
15               matter of this action; and
16         (c) Communications between such independent consultants and experts
17               and a party or its outside counsel that are related to drafts and/or
18               revisions of expert reports, declarations, or other materials drafted by or
19               for such independent consultants or experts, or that are related to
20               preparation to testify at a hearing, trial, or deposition in this action.
21      Such protections provided herein are to be construed to be in addition to, and
22      shall not diminish the protections provided in Fed. R. Civ. P. 26(b)(3)–(4).
23      Nothing herein, however, limits the rights of Parties to examine an expert or
24      consultant concerning the information he or she relied upon in forming his or
25      her opinions, which information shall not be privileged.
26         19.     There shall be no disclosure of any DESIGNATED MATERIAL by
27   any person authorized to have access thereto to any person who is not authorized
28   for such access under this Order. The Parties are hereby ORDERED to safeguard
                                                             STIPULATED PROTECTIVE ORDER,
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 1   all such documents, information and material to protect against disclosure to any
 2   unauthorized persons or entities.
 3         20.   Nothing in this Protective Order shall prevent or restrict a producing
 4   Party’s own disclosure or use of its own DESIGNATED MATERIAL for any
 5   purpose. Nothing in this Order shall restrict in any way the use or disclosure of
 6   DESIGNATED MATERIAL by a receiving Party: (i) that is or has become
 7   publicly known through no fault of the receiving Party; (ii) that is lawfully
 8   acquired by or known to the receiving Party independent of the producing Party;
 9   (iii) previously produced, disclosed and/or provided by the producing Party to the
10   receiving Party or a non-party without an obligation of confidentiality and not by
11   inadvertence or mistake; (iv) with the consent of the producing Party; or (v)
12   pursuant to order of the Court.
13         21.   Nothing contained herein shall be construed to prejudice any Party’s
14   right to use any DESIGNATED MATERIAL in taking testimony at any
15   deposition or hearing provided that the DESIGNATED MATERIAL is only
16   disclosed to a person(s) who is: (i) eligible to have access to the DESIGNATED
17   MATERIAL by virtue of his or her employment with the designating party, (ii)
18   identified in the DESIGNATED MATERIAL as an author, addressee, or copy
19   recipient of such information, (iii) although not identified as an author, addressee,
20   or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course
21   of business, seen such DESIGNATED MATERIAL, (iv) a current or former
22   officer, director or employee of the producing Party or a current or former officer,
23   director or employee of a company affiliated with the producing Party; (v) counsel
24   for a Party, including outside counsel and in-house counsel (subject to Paragraphs
25   11-12 of this Order); (vi) an independent contractor, consultant, and/or expert
26   retained for the purpose of this litigation; (vii) court reporters and videographers;
27   (viii) the Court; or (ix) other persons entitled hereunder to access to
28   DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be disclosed
                                                          STIPULATED PROTECTIVE ORDER,
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 1   to any other persons unless prior authorization is obtained from counsel
 2   representing the producing Party or from the Court.
 3         22.     Parties may, at the deposition or hearing or within thirty (30) days
 4   after receipt of a deposition or hearing transcript, designate the deposition or
 5   hearing transcript or any portion thereof as “CONFIDENTIAL,” “RESTRICTED
 6   - ATTORNEY’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE
 7   CODE” pursuant to this Order. Until expiration of the 30-day period, the entire
 8   deposition or hearing transcript shall be treated as “RESTRICTED –
 9   ATTORNEYS’ EYES ONLY”. Any Party that wishes to disclose the transcript,
10   or information contained therein, may provide written notice of its intent to treat
11   the transcript as non-confidential, after which time, any Party that wants to
12   maintain any portion of the transcript as confidential must designate the
13   confidential portions within fourteen (14) days, or else the transcript may be
14   treated as non-confidential.
15         23.     Nothing in this Order shall be construed to prejudice any Party’s right
16   to use any DESIGNATED MATERIAL in court or in any court filing with the
17   consent of the producing Party or by order of the Court, provided that such filing
18   is made under seal.
19         24.     Any DESIGNATED MATERIAL that is filed with the Court shall be
20   filed under seal and shall remain under seal until further order of the Court. A
21   party seeking to file DESIGNATED MATERIAL with the Court must file an
22   Application for Leave to File Under Seal under Local Rule 79-5 or 79-6, as
23   applicable.
24         25.     The Order applies to pretrial discovery. Nothing in this Order shall be
25   deemed to prevent the Parties from introducing any DESIGNATED MATERIAL
26   into evidence at the trial of this Action, or from using any information contained
27   in DESIGNATED MATERIAL at the trial of this Action, subject to any pretrial
28   order issued by this Court.
                                                          STIPULATED PROTECTIVE ORDER,
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 1         26.   A Party may request in writing to the other Party that the designation
 2   given to any DESIGNATED MATERIAL be modified or withdrawn and state the
 3   grounds for the objection. The objecting Party shall have the burden of conferring
 4   either in person, in writing, or by telephone with the producing Party claiming
 5   protection (as well as any other interested party) in a good faith effort to resolve
 6   the dispute. If the designating Party does not agree to redesignation within ten
 7   (10) days of receipt of the written request, the requesting Party may apply to the
 8   Court for relief. Upon any such application to the Court, the burden shall be on
 9   the designating Party to show why its classification is proper. Such application
10   shall be treated procedurally as a motion to compel pursuant to Federal Rules of
11   Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In
12   making such application, the requirements of the Federal Rules of Civil Procedure
13   and the Local Rules of the Court shall be met. Pending the Court’s determination
14   of the application, the designation of the designating Party shall be maintained.
15         27.   Each outside consultant or expert to whom DESIGNATED
16   MATERIAL is disclosed in accordance with the terms of this Order shall be
17   advised by counsel of the terms of this Order, shall be informed that he or she is
18   subject to the terms and conditions of this Order, and shall sign an
19   acknowledgment that he or she has received a copy of, has read, and has agreed to
20   be bound by this Order. A copy of the acknowledgment form is attached as
21   Appendix A.
22         28.   To the extent that any discovery is taken of persons who are not
23   Parties to this Action (“Third Parties”) and in the event that such Third Parties
24   contended the discovery sought involves trade secrets, confidential business
25   information, or other proprietary information, then such Third Parties may agree
26   to be bound by this Order.
27         29.   To the extent that discovery or testimony is taken of Third Parties, the
28   Third Parties may designate as “CONFIDENTIAL,” “RESTRICTED --
                                                          STIPULATED PROTECTIVE ORDER,
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 1   ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE
 2   CODE” any documents, information or other material, in whole or in part,
 3   produced or given by such Third Parties. The Third Parties shall have ten (10)
 4   days after production of such documents, information or other materials to make
 5   such a designation. Until that time period lapses or until such a designation has
 6   been made, whichever occurs sooner, all documents, information or other material
 7   so produced or given shall be treated as “CONFIDENTIAL” in accordance with
 8   this Order.
 9         30.     Within ninety (90) days of final termination of this Action, including
10   any appeals, all DESIGNATED MATERIAL, including all copies, duplicates,
11   abstracts, indexes, summaries, descriptions, and excerpts or extracts thereof
12   (excluding excerpts or extracts incorporated into any privileged memoranda of the
13   Parties and materials which have been admitted into evidence in this Action),
14   shall at the producing Party’s election either be returned to the producing Party or
15   be destroyed. The receiving Party shall verify the return or destruction by affidavit
16   furnished to the producing Party, upon the producing Party’s request.
17   Notwithstanding the provisions for return of DESIGNATED MATERIAL,
18   outside counsel may retain one set of pleadings, correspondence and attorney and
19   consultant work product (but not document productions) for archival purposes,
20   but must return any pleadings, correspondence, and consultant work product that
21   contain Source Code Material.
22         31.     Even after the termination of this case, the confidentiality obligations
23   imposed by this Order shall remain in effect until a producing Party agrees
24   otherwise in writing or a court order otherwise directs.
25         32.     The failure to designate documents, information or material in
26   accordance with this Order and the failure to object to a designation at a given
27   time shall not preclude the filing of a motion at a later date seeking to impose such
28   designation or challenging the propriety thereof. The entry of this Order and/or
                                                           STIPULATED PROTECTIVE ORDER,
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 1   the production of documents, information and material hereunder shall in no way
 2   constitute a waiver of any objection to the furnishing thereof, all such objections
 3   being hereby preserved.
 4         33.    Any Party knowing or believing that any other party is in violation of
 5   or intends to violate this Order and has raised the question of violation or potential
 6   violation with the opposing party and has been unable to resolve the matter by
 7   agreement may move the Court for such relief as may be appropriate in the
 8   circumstances. Pending disposition of the motion by the Court, the Party alleged
 9   to be in violation of or intending to violate this Order shall discontinue the
10   performance of and/or shall not undertake the further performance of any action
11   alleged to constitute a violation of this Order. In the event of a disclosure of any
12   DESIGNATED MATERIAL pursuant to this Order, including any inadvertent
13   loss or misplacement of that material, to any person or persons not authorized to
14   receive such disclosure under this Protective Order, the Party responsible for
15   having made such disclosure, and each Party with knowledge thereof, shall
16   immediately notify counsel for the producing Party whose DESIGNATED
17   MATERIAL has been disclosed and provide to such counsel all known relevant
18   information concerning the nature and circumstances of the disclosure. The
19   responsible disclosing Party shall also promptly take all reasonable measures to
20   retrieve the improperly disclosed DESIGNATED MATERIAL and to ensure that
21   no further or greater unauthorized disclosure and/or use thereof is made.
22   Unauthorized or inadvertent disclosure does not change the status of Discovery
23   Material or waive the right to hold the disclosed document or information as
24   Protected.
25         34.    If at any time DESIGNATED MATERIAL is subpoenaed by any
26   court, arbitral, administrative, or legislative body, the Party to whom the subpoena
27   or other request is directed shall immediately give prompt written notice thereof to
28   every Party who has produced such DESIGNATED MATERIAL and to its
                                                          STIPULATED PROTECTIVE ORDER,
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 1   counsel and shall provide each such Party with an opportunity to move for a
 2   protective order regarding the production of DESIGNATED MATERIAL
 3   implicated by the subpoena.
 4         35.    Production of DESIGNATED MATERIAL by each of the Parties
 5   shall not be deemed a publication of the documents, information and material (or
 6   the contents thereof) produced so as to void or make voidable whatever claim the
 7   Parties may have as to the proprietary and confidential nature of the documents,
 8   information or other material or its contents.
 9         36.    Nothing in this Order shall be construed to effect an abrogation,
10   waiver or limitation of any kind on the rights of each of the Parties to assert any
11   applicable discovery or trial privilege.
12         37.    This Order shall be binding upon the Parties, their attorneys, and their
13   successors, executors, personal representatives, administrators, heirs, legal
14   representatives, assigns, subsidiaries, divisions, employees, agents, retained
15   consultants and experts, and any persons or organizations over which they have
16   direct control.
17         38.    Each of the Parties shall also retain the right to file a motion with the
18   Court (a) to modify this Order to allow disclosure of DESIGNATED MATERIAL
19   to additional persons or entities if reasonably necessary to prepare and present this
20   Action and (b) to apply for additional protection of DESIGNATED MATERIAL.
21         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
22   Dated: January 17, 2020                     /s/ Sarah G. Hartman
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23                                              NY Bar No. 2219392
24                                              afabricant@brownrudnick.com
                                                Lawrence Drucker (pro hac vice)
25                                              NY Bar No. 2303089
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26                                              Vincent J. Rubino, III (pro hac vice)
27                                              NY Bar No. 4557435
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                                                             STIPULATED PROTECTIVE ORDER,
                                                28
                                                               CASE NO. 2:19-CV-025150-PSG-JPR
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                                    #:312


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12                                      Attorneys for Plaintiff
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                                                    STIPULATED PROTECTIVE ORDER,
                                         29
                                                      CASE NO. 2:19-CV-025150-PSG-JPR
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                                      #:313


 1   Dated: January 17, 2020              COOLEY LLP
 2
 3                                        /s/ Benjamin S. Lin
 4                                        HEIDI L. KEEFE (178960)
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11
                                          Attorneys for Defendant
12                                        SNAP INC.
13
14
                                         ORDER
15
16
          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
17
18
19   Dated: January 23, 2020
                                                HON. JEAN P. ROSENBLUTH
20
                                                United States Magistrate Judge
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                                                       STIPULATED PROTECTIVE ORDER,
                                           30
                                                         CASE NO. 2:19-CV-025150-PSG-JPR
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 1                           APPENDIX A
 2          UNDERTAKING OF EXPERT CONSULTANTS REGARDING
                         PROTECTIVE ORDER
 3
 4
            I,                                         , declare that:
 5
     1.     My address is                                                                .
 6
            My current employer is                                                 .
 7
            My current occupation is                                               .
 8
     2.     I have received a copy of the Protective Order in this action. I have
 9
            carefully read and understand the provisions of the Protective Order.
10
     3.     I will comply with all of the provisions of the Protective Order. I will hold
11
            in confidence, will not disclose to anyone not qualified under the Protective
12
            Order, and will use only for purposes of this action any information
13
            designated as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’
14
            EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”
15
            that is disclosed to me.
16
     4.     Promptly upon termination of these actions, I will return all documents and
17
            things designated as “CONFIDENTIAL,” “RESTRICTED -
18
            ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL
19
            SOURCE CODE” that came into my possession, and all documents and
20
            things that I have prepared relating thereto, to the outside counsel for the
21
            party by whom I am employed.
22
     5.     I hereby submit to the jurisdiction of this Court for the purpose of
23
            enforcement of the Protective Order in this action.
24
            I declare under penalty of perjury that the foregoing is true and correct.
25
     Signature
26
     Date
27
28
                                                         STIPULATED PROTECTIVE ORDER,
                                                          CASE NO. 2:19-CV-025150-PSG-JPR
